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The Application is granted to the extent that the law firm
provides services that are necessary and beneficial to the estate
and that are not the performance of the Trustee's statutory
duties, consistent with In re McConnell, 2021 WL 203331 (Bankr.
N.D. Ga. Jan. 4, 2021).


   IT IS ORDERED as set forth below:



   Date: May 17, 2021
                                                              _________________________________

                                                                          Paul W. Bonapfel
                                                                    U.S. Bankruptcy Court Judge
 _______________________________________________________________



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                :             CASE NO. 21-52577-PWB
                                                      :
CYNTHIA WILLIAMS,                                     :             CHAPTER 7
                                                      :
         Debtor.                                      :
                                                      :




ORDER APPROVING EMPLOYMENT OF ATTORNEYS, SUBJECT TO OBJECTION

         On May 14, 2021, S. Gregory Hays, in his capacity as Chapter 7 Trustee (the “Trustee”),

filed an application for appointment of Arnall Golden Gregory LLP (“AGG” or “Applicant”) as

attorneys for Trustee [Doc. No. 17] (the “Application”). The Application and accompanying

verified statement demonstrate that AGG is a firm of attorneys qualified to practice in this Court,

that Applicant is disinterested and represents no interest adverse to Debtor or the estate. As this

case     justifies   employment        of     a    professional       for    the    purpose       specified,




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it is hereby

        ORDERED that under 11 U.S.C. § 327 and Bankruptcy Rule 2014, the Application is

GRANTED: Trustee is authorized to employ Applicant as Trustee’s attorney during this Chapter

7 case. It is further

        ORDERED that compensation shall be paid to AGG upon notice, hearing, and approval

of the Court pursuant to 11 U.S.C. §§ 330, 331 and Bankruptcy Rule 2016 of an appropriately

detailed application. It is further

        ORDERED that this Order is entered subject to written objection of the U.S. Trustee or

any other party in interest within twenty-one (21) days from the date of entry of this Order. Any

objection to this Order shall be served on the United States Trustee, Trustee, and proposed

counsel for Trustee. If an objection is timely filed, then proposed counsel for Trustee shall

schedule a hearing on the Application and such objection pursuant to the Court’s open Calendar

Procedures, and shall provide notice of such hearing to the United States Trustee, Trustee, and

the objecting party.

                                      [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP

By:/s/ Michael J. Bargar
    Michael J. Bargar
    Georgia Bar No. 645709
171 17th Street, NW, Suite 2100
Atlanta, GA 30363
(404) 873-8500

Proposed Attorneys for Trustee




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Identification of parties to be served:

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1170 Valentine Court
Riverdale, GA 30296

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